Case 2:05-md-01657-EEF-DEK Document 55948 Filed 11/16/10 Page 1 of 2

CHARLES PIQUET, An Individual, UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
Plaintiff,

DOCKET NO. 2:05 CV 04786
Vv.

MERCK & CO., INC.,

STIPULATION OF DISMISSAL
Defendant. WITH PREJUDICE
AS TO ALL DEFENDANTS

Pursuant to Fed.R.Civ.P 41, the undersigned counsel hereby stipulate that all claims of
plaintiff, Charles Piquet, against defendant Merck & Co., Inc. and all other named defendants be

dismissed in their entirety with prejudice, each party to bear its own costs.

vfarsters, Attorney for Plaintiffs “< phen G. Strauss Phillip A. Wittmann
Bryan Cave LLP Dorothy H. Wimberly
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Dated: 4 RR | B, Attorneys for Merck & Co., Inc.
[ | Dated: ] I-Un0

V1013
Case 2:05-md-01657-EEF-DEK Document 55948 Filed 11/16/10 Page 2 of 2

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Stipulation of Dismissal With
Prejudice as to All Defendants has been served on Liaison Counsel, Russ Herman and Phillip
Wittmann, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties by
electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pre-
Trial Order No. 8B, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF system
which will send a Notice of Electronic Filing in accord with the procedures established in MDL
1657, on this 16th day of November, 2010.

/s/ Stephen G. Strauss

Stephen G. Strauss

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Attorneys for Defendant
Merck & Co.,Inc. ~
